                         Case 1:25-cv-02226
Revised 02.13.2025; Effective 02.17.2025                                CIVIL COVER
                                                                      Document 2 Filed SHEET
                                                                                       04/22/25                                    Page 1 of 2 PageID #: 29
The JS 44 civil cover sheet and the information contained herein neither replace nor supplement the filing and service of pleadings or other papers as required by law, except as
provided by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is required for the use of the Clerk of Court for the
purpose of initiating the civil docket sheet. (SEE INSTRUCTIONS ON NEXT PAGE OF THIS FORM.)
I. (a) PLAINTIFFS                                                                                         DEFENDANTS


   (b) County of Residence of First Listed Plaintiff                                                      County of Residence of First Listed Defendant
                                 (EXCEPT IN U.S. PLAINTIFF CASES)                                                                (IN U.S. PLAINTIFF CASES ONLY)
                                                                                                          NOTE:      IN LAND CONDEMNATION CASES, USE THE LOCATION OF
                                                                                                                     THE TRACT OF LAND INVOLVED.

   (c) Attorneys (Firm Name, Address, and Telephone Number)                                                Attorneys (If Known)




II. BASIS OF JURISDICTION (Place an “X” in One Box Only)                                      III. CITIZENSHIP OF PRINCIPAL PARTIES (Place an “X” in One Box for Plaintiff
                                                                                                       (For Diversity Cases Only)                                    and One Box for Defendant)
   1   U.S. Government                  3   Federal Question                                                                    PTF        DEF                                         PTF      DEF
         Plaintiff                            (U.S. Government Not a Party)                      Citizen of This State            1          1      Incorporated or Principal Place         4     4
                                                                                                                                                      of Business In This State

   2   U.S. Government                  4   Diversity                                            Citizen of Another State            2          2   Incorporated and Principal Place           5         5
         Defendant                            (Indicate Citizenship of Parties in Item III)                                                           of Business In Another State

                                                                                                 Citizen or Subject of a             3          3   Foreign Nation                             6         6
                                                                                                   Foreign Country
IV. NATURE OF SUIT (Place an “X” in One Box Only)                                                                                    Click here for: Nature of Suit Code Descriptions.
          CONTRACT                                                TORTS                            FORFEITURE/PENALTY                       BANKRUPTCY                       OTHER STATUTES
   110 Insurance                       PERSONAL INJURY                  PERSONAL INJURY             625 Drug Related Seizure             422 Appeal 28 USC 158             375 False Claims Act
   120 Marine                          310 Airplane                    365 Personal Injury -            of Property 21 USC 881           423 Withdrawal                    376 Qui Tam (31 USC
   130 Miller Act                      315 Airplane Product                Product Liability        690 Other                                28 USC 157                        3729(a))
   140 Negotiable Instrument                Liability                  367 Health Care/                                                    INTELLECTUAL                    400 State Reapportionment
   150 Recovery of Overpayment         320 Assault, Libel &                Pharmaceutical                                                PROPERTY RIGHTS                   410 Antitrust
       & Enforcement of Judgment            Slander                        Personal Injury                                               820 Copyrights                    430 Banks and Banking
   151 Medicare Act                    330 Federal Employers’              Product Liability                                             830 Patent                        450 Commerce
   152 Recovery of Defaulted                Liability                  368 Asbestos Personal                                             835 Patent - Abbreviated          460 Deportation
        Student Loans                  340 Marine                          Injury Product                                                    New Drug Application          470 Racketeer Influenced and
        (Excludes Veterans)            345 Marine Product                  Liability                                                     840 Trademark                         Corrupt Organizations
   153 Recovery of Overpayment              Liability                 PERSONAL PROPERTY                      LABOR                       880 Defend Trade Secrets          480 Consumer Credit
       of Veteran’s Benefits           350 Motor Vehicle               370 Other Fraud              710 Fair Labor Standards                 Act of 2016                       (15 USC 1681 or 1692)
   160 Stockholders’ Suits             355 Motor Vehicle               371 Truth in Lending             Act                                                                485 Telephone Consumer
   190 Other Contract                      Product Liability           380 Other Personal           720 Labor/Management                 SOCIAL SECURITY                       Protection Act
   195 Contract Product Liability      360 Other Personal                  Property Damage              Relations                        861 HIA (1395ff)                  490 Cable/Sat TV
   196 Franchise                           Injury                      385 Property Damage          740 Railway Labor Act                862 Black Lung (923)              850 Securities/Commodities/
                                       362 Personal Injury -               Product Liability        751 Family and Medical               863 DIWC/DIWW (405(g))                Exchange
                                           Medical Malpractice                                          Leave Act                        864 SSID Title XVI                890 Other Statutory Actions
       REAL PROPERTY                     CIVIL RIGHTS                 PRISONER PETITIONS            790 Other Labor Litigation           865 RSI (405(g))                  891 Agricultural Acts
   210 Land Condemnation               440 Other Civil Rights          Habeas Corpus:               791 Employee Retirement                                                893 Environmental Matters
   220 Foreclosure                     441 Voting                      463 Alien Detainee               Income Security Act              FEDERAL TAX SUITS                 895 Freedom of Information
   230 Rent Lease & Ejectment          442 Employment                  510 Motions to Vacate                                             870 Taxes (U.S. Plaintiff             Act
   240 Torts to Land                   443 Housing/                        Sentence                                                           or Defendant)                896 Arbitration
   245 Tort Product Liability              Accommodations              530 General                                                       871 IRS—Third Party               899 Administrative Procedure
   290 All Other Real Property         445 Amer. w/Disabilities -      535 Death Penalty                IMMIGRATION                           26 USC 7609                      Act/Review or Appeal of
                                           Employment                  Other:                       462 Naturalization Application                                             Agency Decision
                                       446 Amer. w/Disabilities -      540 Mandamus & Other         465 Other Immigration                                                  950 Constitutionality of
                                           Other                       550 Civil Rights                 Actions                                                                State Statutes
                                       448 Education                   555 Prison Condition
                                                                       560 Civil Detainee -
                                                                           Conditions of
                                                                           Confinement
V. ORIGIN (Place an “X” in One Box Only)
  1 Original               2 Removed from                    3      Remanded from              4 Reinstated or             5 Transferred from      6 Multidistrict                     8 Multidistrict
    Proceeding               State Court                            Appellate Court              Reopened                    Another District          Litigation -                      Litigation -
                                                                                                                             (specify)                 Transfer                          Direct File
                                        Cite the U.S. Civil Statute under which you are filing (Do not cite jurisdictional statutes unless diversity):
VI. CAUSE OF ACTION Brief description of cause:

VII. REQUESTED IN                            CHECK IF THIS IS A CLASS ACTION                        DEMAND $                                    CHECK YES only if demanded in complaint:
     COMPLAINT:                              UNDER RULE 23, F.R.Cv.P.                                                                           JURY DEMAND:                    Yes           No
VIII. RELATED CASE(S)
                                            (See instructions):
      IF ANY                                                         JUDGE                                                               DOCKET NUMBER
DATE                                                                   SIGNATURE OF ATTORNEY OF RECORD


FOR OFFICE USE ONLY

  RECEIPT #                      AMOUNT                                    APPLYING IFP                                    JUDGE                           MAG. JUDGE
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                                                      CERTIFICATION OF ARBITRATION ELIGIBILITY
Local Arbitration Rule 83.7 provides that with certain exceptions, actions seeking money damages only in an amount not in excess of $150,000,
exclusive of interest and costs, are eligible for compulsory arbitration. The amount of damages is presumed to be below the threshold amount unless a
certification to the contrary is filed.

Case is Eligible for Arbitration

I, __________________________________________, counsel for____________________________, do hereby certify that the above captioned civil
action is ineligible for compulsory arbitration for the following reason(s):

                      monetary damages sought are in excess of $150,000.00 exclusive of interest and costs,

                      the complaint seeks injunctive relief, or

                      the matter is otherwise ineligible for the following reason:



                                         DISCLOSURE STATEMENT - FEDERAL RULES CIVIL PROCEDURE 7.1

Identify any parent corporation and any publicly held corporation that owns 10% or more or its stocks. Add an additional page if needed.



                                          RELATED CASE STATEMENT (Section VIII on the Front of this Form)

Please list all cases that are arguably related pursuant to Division of Business Rule 3 in Section VIII on the front of this form. Rule 3(a) provides that “A
civil case is “related” to another civil case for purposes of this guideline when, because of the similarity of facts and legal issues or because the cases
arise from the same transactions or events, a substantial saving of judicial resources is likely to result from assigning both cases to the same judge and
magistrate judge.” Rule 3(a) provides that “A civil case shall not be deemed “related” to another civil case merely because the civil case involves
identical legal issues, or the same parties.” Rule 3 further provides that “Presumptively, and subject to the power of a judge to determine otherwise
pursuant to paragraph (b), civil cases shall not be deemed to be “related” unless both cases are still pending before the court.”



                                         NEW YORK EASTERN DISTRICT DIVISION OF BUSINESS RULE 1(d)(3)

        If you answer “Yes” to any of the questions below, this case will be designated as a Central Islip case and you must select Office Code 2.

1.   Is the action being removed from a state court that is located in Nassau or Suffolk County?                                               Yes      No
2.   Is the action—not involving real property—being brought against United States, its officers or its employees AND the                      Yes      No
     majority of the plaintiffs reside in Nassau or Suffolk County?
3.   If you answered “No” to all parts of Questions 1 and 2:
           a.   Did a substantial part of the events or omissions giving rise to claim or claims occur in Nassau or Suffolk
                                                                                                                                                Yes     No
                County?
                                                                                                                                                Yes     No
           b.   Do the majority of defendants reside in Nassau or Suffolk County?
                                                                                                                                                Yes     No
            c. Is a substantial amount of any property at issue located in Nassau or Suffolk County?
4.   If this is a Fair Debt Collection Practice Act case, was the offending communication received in either Nassau or Suffolk County?          Yes     No
(Note, a natural person is considered to reside in the county in which that person is domiciled; an entity is considered a resident of the county that is
either its principal place of business or headquarters, of if there is no such county in the Eastern District, the county within the District with which it has
the most significant contacts).

                                                                       BAR ADMISSION

I am currently admitted in the Eastern District of New York and currently a member in good standing of the bar of this court.
              Yes              No

Are you currently the subject of any disciplinary action (s) in this or any other state or federal court?
             Yes (If yes, please explain)      No


I certify the accuracy of all information provided above.

Signature: ____________________________________________________




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